       Case 4:21-cv-00459-JCH Document 12 Filed 12/07/21 Page 1 of 1



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 2
 3                      IN THE UNITED STATES DISTRICT COURT
 4                               FOR THE DISTRICT OF ARIZONA
 5
 6   Kim Abramson,                                    No. CV-21-00459-TUC-JCH
 7                  Plaintiff,                        ORDER
 8   v.
 9   Trans Union LLC, et al.,
10                  Defendants.
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12          On December 2, 2021, the Court granted the parties’ December 1, 2021 Stipulation
13   (Doc. 7) which requested Defendant Nelnet Loan Services Inc. be given until December
14   24, 2021 to file an answer or a responsive pleading to the Complaint (Doc. 1). (See Doc.

15   8.) Defendant Trans Union LLC (“Trans Union”) did not join in the December 1, 2021
16   Stipulation.

17          Pending before the Court is a Joint Stipulation for Extension of Time for Defendant
18   Trans Union to Answer or Otherwise Respond to Plaintiff’s Complaint (“Stipulation”)

19   (Doc. 9). The parties request that Defendant Trans Union be given until January 2, 2022 to

20   file an answer or a responsive pleading to the Complaint (Doc. 1). Good cause appearing,
21          IT IS ORDERED that the Stipulation (Doc. 7) is GRANTED. Defendant Trans
22   Union must file an answer or a responsive pleading to the Complaint on or before January

23   2, 2022.

24          Dated this 6th day of December, 2021.

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